Case 2:04-cv-02181-.]PI\/|-tmp Document 116 Filed 07/08/05 Page 1 of 3 Page|D 160

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IN THE UNITED STATES DISTRICT CoURT 05 J %`- °-€-
FOR THE WESTERN DISTRICT oF TENNESSEE UL ~6 wm 02

 

 

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COMMODITY FUTURE TRADING ) ' ' ’ "PW
CoMMIsIoN, )
)
Plaintiff, ) Case No. 04-2181 D AN
)
VS. )
)
FXTRADE FiNANCIAL, LLC, et al., )
)
Defendants, )
)
JosEPH J. CECALA, JR., )
)
ReliefDefendant. )
oRDER oF REFERENCE

 

Before the Court is Plaintiff’s Motion to Impose Discovery Sanctions Against Defendants
FXTrade Financial, Llc; Jeffrey A. Mischler; Mary Jo Sibbitt; and Reverie LLC filed on July 6,
2005, in this case.

This matter is hereby referred to the United States Magistrate Judge for a Report
and Recornmendation. Any exceptions to the Magistrate Judge’s order shall be made by motion

Within ten (l O) days of the order. Further, all exceptions shall be stated With particularity

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IT IS SO ORDERED this 2 day o

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This notice confirms a copy of the document docketed as number 116 in
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ESSEE

 

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Honorable Bernice Donald
US DISTRICT COURT

